Case 19-70152-JHH11   Doc 58    Filed 02/11/19 Entered 02/11/19 18:49:55   Desc Main
                               Document     Page 1 of 5
Case 19-70152-JHH11   Doc 58    Filed 02/11/19 Entered 02/11/19 18:49:55   Desc Main
                               Document     Page 2 of 5
Case 19-70152-JHH11   Doc 58    Filed 02/11/19 Entered 02/11/19 18:49:55   Desc Main
                               Document     Page 3 of 5
Case 19-70152-JHH11   Doc 58    Filed 02/11/19 Entered 02/11/19 18:49:55   Desc Main
                               Document     Page 4 of 5
Case 19-70152-JHH11   Doc 58    Filed 02/11/19 Entered 02/11/19 18:49:55   Desc Main
                               Document     Page 5 of 5
